                Case 4:19-cv-07123-PJH Document 7 Filed 10/30/19 Page 1 of 2



 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3   :+$76$33,1&D'HODZDUHFRUSRUDWLRQ     )
     DQG)$&(%22.,1&D'HODZDUHFRUSRUDWLRQ ) Case No: _______________
                                                            3:19-cv-07123
 4                                               )
                               Plaintiff(s),     ) APPLICATION FOR
 5                                               ) ADMISSION OF ATTORNEY
           v.
                                                 ) PRO HAC VICE
 6   162*52837(&+12/2*,(6/,0,7('DQG ) (CIVIL LOCAL RULE 11-3)
     4&<%(57(&+12/2*,(6/,0,7('                )
 7                                               )
                               Defendant(s).
                                                 )
 8
         I, Daniel J. Grooms                      , an active member in good standing of the bar of
 9    the District of Columbia     , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: Plaintiffs                                   in the
                                                                Travis LeBlanc
     above-entitled action. My local co-counsel in this case is __________________________________,     an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                              LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      1299 Pennsylvania Ave. NW, Suite 700                101 California St., 5th Floor
14    Washington, DC 20004                                San Francisco, CA 94111
       MY TELEPHONE # OF RECORD:                          LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (202) 842-7800                                      (415) 693-2000
       MY EMAIL ADDRESS OF RECORD:                        LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    dgrooms@cooley.com                                  tleblanc@cooley.com
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: 219124       .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 10/29/19                                           /s/ Daniel J. Grooms
22                                                                             APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Daniel J. Grooms                           is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated:
                                                           UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                 October 2012
      Case 4:19-cv-07123-PJH Document 7 Filed 10/30/19 Page 2 of 2




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  On behalf of JULIO A. CASTILLO,Clerk of the District of Columbia Court of Appeals,
                  the District of Columbia Bar does hereby certify that


                                           ~ ~              ~
                       _ ~i                     i.                       ii



        was duly qualified and admitted on November 3, 2017 as an attorney and counselor entitled to
          practice before this Court; and is, on the date indicated below, an Active member in good
                                               standing ofthis Bar.




                                                                            In Testimony Whereof,
                                                                        I have hereunto subscribed my
                                                                        name and affixed the seal of this
                                                                             Court at the City of
                                                                            Washington, D.C., an
                                                                             September 30, 2019.

                                                                                 r       `~• .~~


                                                                             JULIO A. CASTILLO
                                                                               Clerk of the Court




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                                                                   Issued By:
                                                                            District of Columbia Bar Membership



For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
